       CASE 0:22-cr-00040-JRT-LIB Doc. 122 Filed 10/21/24 Page 1 of 5




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF MINNESOTA
                    Criminal No. 22-40 (JRT/LIB)

UNITED STATES OF AMERICA,

                   Plaintiff,

      v.

(1) HARSHKUMAR RAMANLAL PATEL,                     GOVERNMENT’S NOTICE
    a/k/a “Dirty Harry,”                           OF INTENT TO
    a/k/a Harry Patel,                             INTRODUCE EVIDENCE
    a/k/a Param Singh,                             PURSUANT TO FED. R.
    a/k/a Haresh Rameshlal Patel,                  EVID. 404(b)
    a/k/a Harshkumar Singh Patel, and

(2) STEVE ANTHONY SHAND,

                   Defendants.

      The United States of America by and through its attorneys, Andrew M.

Luger, United States Attorney for the District of Minnesota, Assistant United

States Attorney Michael P. McBride and Trial Attorney Ryan Lipes, hereby

gives notice of its intent to introduce evidence of the facts and circumstances

surrounding the following crimes, wrongs, or other acts of the defendants:

      a. Evidence that Shand and Patel Smuggled Individuals Across
         the United States/Canada Border and Transported them
         within the United States on Four Occasions Preceding
         January 19, 2022.

      At trial, the government will offer evidence that on or about December

12, 21-22, and 28-29, 2021, and on or about January 11-12, 2022, the

defendants conspired to and did smuggle individuals across the United
        CASE 0:22-cr-00040-JRT-LIB Doc. 122 Filed 10/21/24 Page 2 of 5




States/Canada border and transport them within the United States.           The

government will introduce cellphone location data, travel records, vehicle

rental records, communications, bank records, observations of Customs and

Border Patrol Agents, and other evidence that shows the defendants’

conspiracy. These smuggling events took place at the same intersection in

Minnesota that Shand was arrested at on January 19, 2022—180th Street and

410th Avenue North—east of Pembina, North Dakota. They also followed the

same plan and pattern of the January 19 smuggling attempt, forming a

common scheme and plan. In each instance, Shand travelled to northern

Minnesota at the direction of Patel, picked up smuggled individuals at the

same location just inside the United Sates and transported them to various

locations in the United States. Patel then paid Shand for transporting the

individuals.

      To start, this evidence is intrinsic to the charged conspiracy to bring

aliens to the United States and transport them within the United States

because the prior smuggling events prove the existence of an agreement

between the defendants to commit the charged crimes. “In conspiracy cases,

like this one, in which the government is required to prove the existence of an

agreement between the conspirators . . . the government has considerable

leeway in offering evidence of other offenses.” See United States v. Maxwell,

643 F.3d 1096, 1100 (8th Cir. 2011) (internal citations and quotations omitted).
       CASE 0:22-cr-00040-JRT-LIB Doc. 122 Filed 10/21/24 Page 3 of 5




In a conspiracy case, proving that the defendants intentionally reached an

agreement to commit a crime is an element of the offense, so evidence of

uncharged bad acts—like evidence of the co-conspirators agreeing to smuggle

aliens across the border multiple times in the two months preceding the

charged offense—is “proof of the existence of the conspiracy.” Id. Evidence is

also intrinsic if it shows “how the conspiracy came about” and “how it was

structured.” See United States v. Watkins, 591 F.3d 780, 784-85 (5th Cir. 2009)

(finding two previous drug runs before the charged offense was “relevant to

establish how the conspiracy was structured and operated, and thus intrinsic”);

United States v. Ceballos, 789 F.3d 607, 621 (5th Cir. 2015) (finding a “strong

basis to conclude” that a notebook ledger showing earlier dates in a smuggling

conspiracy was intrinsic because it showed how the conspiracy was structured).

Here, the earlier smuggling dates show both the existence of a conspiracy and

how Shand and Patel structured the conspiracy. Because this evidence is

probative of the charged crimes, it “does not fall within the ambit of Rule

404(b).” See United States v. Aranda, 963 F.2d 211, 214 (8th Cir. 1992).

      In any event, this evidence is admissible under Rule 404(b).         This

evidence will be offered to prove the defendants’ intent, preparation, plan,

knowledge, identity, absence of mistake, and lack of accident. Evidence of

these prior smuggling events is relevant to whether defendants Shand and

Patel had the knowledge and intent to enter into the charged conspiracy. See
        CASE 0:22-cr-00040-JRT-LIB Doc. 122 Filed 10/21/24 Page 4 of 5




United States v. Turner, 583 F.3d 1062, 1066 (8th Cir. 2009) (admitting prior

incidents of manufacturing methamphetamine to show the defendant had the

intent to enter into charged conspiracy to manufacture methamphetamine).

Specifically, evidence of the similarity of these close-in-time, prior smuggling

events to the instant offense and the defendants’ participation in them will

show the defendant’s intent to smuggle and transport unlawful aliens for

financial gain; it will show their preparation and plan to smuggle and

transport individuals in a remote, secretive location; it will show their

knowledge of the unlawful status of the aliens; it will identify the defendants

by their distinctive acts in furtherance of the smuggling and transportation;

and it will demonstrate that the defendants were not mistaken in transporting

the individuals or accidentally involved in the charged crimes.

      b. Evidence that Patel Possessed a Fraudulent Maryland
         Driver’s License.

      At trial the government will introduce evidence that Patel possessed a

fake Maryland driver’s license, which was obtained as part of the larger human

smuggling operation of which he was a part. The government will show that

the smuggling operation was able to procure fake Maryland driver’s licenses

for its members and did so for Patel. This evidence will thus identify Patel as

a member of the conspiracy to smuggle into and transport within the United

States undocumented Indian aliens.
       CASE 0:22-cr-00040-JRT-LIB Doc. 122 Filed 10/21/24 Page 5 of 5




Dated: October 21, 2024                 Respectfully Submitted,


                                        ANDREW M. LUGER
                                        United States Attorney


                                        /s/ Michael P. McBride
                                        BY: MICHAEL P. MCBRIDE
                                        Assistant U.S. Attorney
                                        MN Bar No. 0397292

                                        Ryan Lipes Trial Attorney
                                        U.S. Department of Justice
                                        N.Y. Bar No. 5404843
                                        (202) 514-4715
                                        Ryan.Lipes@usdoj.gov
